UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ZOE CHEN,

                                 Plaintiff,                    ORDER ADOPTING REPORT
                                                                AND RECOMMENDATION
                   - against -                                    17-CV-3993 (RRM) (ST)

LING XU and JOHN HOANG,

                                 Defendants.
-----------------------------------------------------------X
ROSLYNN R. MAUSKOPF, United States District Judge.

        Plaintiff Zoe Chen commenced this action on July 5, 2017, seeking damages for personal

injuries sustained in a car accident. (Compl. (Doc. No. 1).) At the initial conference before the

Honorable Magistrate Judge Steven Tiscione on October 17, 2017, counsel for the plaintiff

informed the Court that the defendants had only recently been served and had not yet answered

the complaint. (10/18/2017 Min. Entry.) The Court therefore adjourned the conference to

December 5, 2017. (Id.) On December 5, Chen’s counsel failed to appear. (12/19/2017 Min.

Order.) When reached by the Court, Chen’s counsel advised that the parties had settled and that

a stipulation of dismissal would be promptly filed. (Id.) On December 19, 2017, when the

stipulation and proof of service of the complaint still had not been filed, the Court set a hearing

for January 2, 2018, for the plaintiff to show cause why this case should not be dismissed for

failure to prosecute and why Chen’s counsel should not be sanctioned. (Id.) Chen’s counsel

once again failed to appear on January 2. (R&R (Doc. No. 7) at 1.)

        Accordingly, on January 12, 2018, Judge Tiscione issued, sua sponte, a Report and

Recommendation recommending that Chen’s action be dismissed. (Id.) Judge Tiscione

reminded the parties that any objections to the R&R must be filed within 14 days of service of
the R&R. (Id. at 2.) 1 The deadline to file objections has passed, and no party has filed any

objection.

         Pursuant to 28 U.S.C. § 636(b) and Federal Rule of Civil Procedure (“Rule”) 72, this

Court has reviewed the R&R for clear error and, finding none, concurs with the R&R in its

entirety. See Covey v. Simonton, 481 F. Supp. 2d 224, 226 (E.D.N.Y. 2007). Thus, it is hereby

ordered that Chen’s action be dismissed pursuant to Rule 41(b).

         The Clerk of Court is respectfully directed to enter judgment, mail a copy of this

Memorandum and Order and the accompanying judgment to each of the defendants at the

address listed in the summons and complaint, note the mailings on the docket, and close this

case.

                                                               SO ORDERED.

Dated: Brooklyn, New York
       February 28, 2018                                    Roslynn R. Mauskopf
                                                      ____________________________________
                                                            ROSLYNN R. MAUSKOPF
                                                            United States District Judge




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  Both the R&R and the 1/12/2018 minute entry provide an incorrect deadline (January 19, 2018, only seven days
from the date of the R&R) for objections. To correct this inadvertent error and to afford the parties a full
opportunity to object to the R&R, the Court extended the parties’ time to file objections to February 15, 2018, by an
Order issued on February 1, 2018. (2/1/2018 Min. Order.)



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